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    ~AO 245B (CASD) (Rev. 4114)   Judgment in a Criminal Case
              Sheet 1                                                                                                                           ,   .-",-.




                                             UNITED STATES DISTRICT COURT                                                     JUt 0:1 2014
                                                                        ,
                                                 SOUTHERN DISTRICT OF CALIFORNIA r                                                        '~';:~",': ,,: " "

                   UNITED STATES OF AMERICA                                         JUDGMENT IN A CtuMINAL CASEcw'J/iJ'::,·
                                       v.                                           (For Offenses Committed On or After November I, 19~

                        PAUL GONNELLY, JR. [9]                                      Case Number: 13CR3481-BTM
                                                                                    TIM GARRISON, FEDERAL DEFENDERS, INC.
                                                                                    Defendant's Attorney
   REGISTRATION NO. 45519298

   D
   THE DEFENDANT:
   181 pleaded guilty to count(s)_I_O_F_TH_E_IN_D_I_C_TM_E_NT
                                                           _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    o    was found guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
         after a plea of not guilty.
         Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
   Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1349                           Conspiracy to Commit Bank Fraud                                                                        I




       The defendant is sentenced as provided in pages 2 through                5          of this judgment. The sentence is imposed pursuant
 o
to the Sentencing Reform Act of 1984.
     The defendant has been found not guilty on count(s)

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _      -----------------------------------------
                                             _ _ _ _ _ _ is 0 are 0 dismissed on the motion of the United States.
 18l Assessment: $100 to be paid forthwith.

 181 Fine waived                                  o       Forfeiture pursuant to order filed
                                                                                                 ---------------             , included herein.
      iT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fuUy paid. If ordered to pay restitution, the
defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                             JUNE 20,2014
                                                                             Date of Imposition of Sentence




                                                                             ~1i£o~
                                                                             UNITED STATES DISTRlCT JUDGE



                                                                                                                                             13CR348 I -BTM
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AO 2458 (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                              Judgment - Page _     2_ of
                                                                                                                  ....        5
 DEFENDANT: PAUL GONNELLY, JR. [9]
 CASE NUMBER: 13CR3481-BTM
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a teon of
         TIME SERVED (7 DAYS).




    o
    o
         Sentence imposed pursuant to Title 8 USC Section 1326(b).
         The court makes the following recommendations to the Bureau of Prisons:
                                                                                              ~t~2fttJ..~
                                                                                              UNITED STATES DISTRICT JUDGE




     o   The defendant is remanded to the custody of the United States Marshal.

     o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                   Oa.m.       Op·m.         on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                        ---------------------------------------------------------------
          o    as notified by the United States MarshaL
          o     as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                     to

  at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL

                                                                       By _ _ _ _ _=::-=~=::::_::_::_:_:::::::_:~~::_:_-----
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                      13CR3481-BTM
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AO 2458 (CAS D) (Rev.4/14) Judgment in a Criminal Case
             Sheet 3 - SupeJVised Release
                                                                                                              Judgment-Page        3      of       5
DEFENDANT: PAUL GONNELLY, JR. [9]                                                                     D
CASE NUMBER: 13CR3481-BTM
                                                         SUPERVISED RELEASE
Upon release from imprisonment. the defendant shall be on supervised release for a term of:
THREE (3) YEARS.

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _2_ drug tests per month during
the term of supervision, unless otherwise ordered by court.
o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

181 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
181 The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
    Backlog Elimination Act of2000..pursuant to 18 USC sections 3563(a)(7) and 3583(d).
o      The defendant shall comply with tfie requirements of the Sex Offender Registration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the d7fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permJSSIOn of the court; and
 \3)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
        record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                       13CR3481-BTM
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         AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                     Sheet 4 - Special Conditions
                                                                                                           Judgment-Page ---1- of _...:;..5_ _
         DEFENDANT: PAUL GONNELLY, JR. [9J                                                            II
         CASE NUMBER: 13CR3481-BTM




                                                SPECIAL CONDITIONS OF SUPERVISION
      Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
181 a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
      a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.

o     Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to 8
      counseling sessions per month as directed by the probation officer.
o     Not transport, harbor, or assist undocumented aliens.
o     Not associate with undocumented aliens or alien smugglers.
o     Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission of the Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drop; or controlled substance without a lawful medical prescription.
o     Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

181 Make restitution to the Bank of America in the amount of$15,456.10, to be paid in installments of$ 150.00 per month, with the balance due
      60 days prior to termination of Supervised Release.




181 Be prohibited from opening banking accounts without approval ofthe Probation Officer.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of days upon release. This is a non punitive
      placement.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o     Resolve all outstanding warrants within               days.
181   Complete 200 hours of community service in a program approved by the probation officer within 24 months.
o
181 Remain in your place of residence for a period of 60 days, except while working at verifiable employment, performing community service,
      attending religious services, or undergoing medical treatment or any such other reasons approved by the probation officer. The defendant
      shall be subject to electronic monitoring, at his expense.

181 That Defendant notify the Collections Unit, United States Attorney's Office, of any interest in property obtained valued at over $1,000,
      directly or indirectly, including any interest obtained under any other name, or entity, including a trust, partnership, or corporation until
      restitution is paid in full.

      Defendant to notify the Collections Unit, United States Attorney's Office, before Defendant transfers any interest in property valued at over
      $1,000 owned directly or indirectly by Defendant, including any interest held or owned under any other name or entity, including trusts,
      partnerships and/or corporations.




                                                                                                                                       13CR3481-BTM
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AO 245S      Judgment in Criminal Case
             Sheet 5 - Criminal Monetary Penalties

                                                                                                       Judgment - Page _ _
                                                                                                                         5_    of       5
DEFENDANT: PAUL GONNELLY, JR. [9]                                                               II
CASE NUMBER: 13CR3481-BTM

                                                               RESTITUTION

The defendant shall pay restitution in the amount of                  $15,456.57
                                                               ------------------- unto the United States of America.
          for the benefit of Bank of America.



          This sum shall be paid _              immediately.
                                           "    as follows:
            The total sum is due forthwith and shall be paid as follows: At the rate of$150.00 per month with the balance due 60 days
            prior to termination of Supervised Release.




        The Court has determined that the defendant        does not    have the ability to pay interest. It is ordered that:
    "         The interest requirement is waived.

              The interest is modified as follows:




                                                                                                      13CR3481-BTM
